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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                    District of Columbia


                  United States of America                     )
                             Plaintiff                         )
                                V.                             )      Case No.    1 :21-CR-623 (CRC)
                     KIRSTYN NIEMELA                           )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         KIRSTYN NIEMELA



Date: - ~0~9~12=8~12=0=2=
                        2 __                                                           ISi Richard F. Monteith
                                                                                          Attorney 's signature


                                                                                 Richard Monteith. Bar# 9352 (NH)
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